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  10                       UNITED STATES DISTRICT COURT
  11          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 Universal City Studios Productions       Case No. 2:17-cv-07496-MWF(AS)
     LLLP; Columbia Pictures Industries,
  14 Inc.; Disney Enterprises, Inc.;          [PROPOSED] ORDER GRANTING
     Twentieth Century Fox Film               PLAINTIFFS’ MOTION FOR
  15 Corporation; Paramount Pictures          LEAVE TO FILE FIRST
     Corporation; Warner Bros.                AMENDED COMPLAINT AND TO
  16 Entertainment Inc.; Amazon Content       EXTEND DISCOVERY CUTOFF
     Services, LLC; Netflix Studios, LLC,
  17                                          Date: July 9, 2018
                  Plaintiffs,                 Time: 10:00 a.m.
  18                                          Ctrm: 5A (Hon. Michael W. Fitzgerald)
            vs.
  19
     Tickbox TV LLC; Jeffrey Goldstein;
  20 Carrla Goldstein,
  21              Defendants.
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                                                                      [PROPOSED] ORDER
                                                                  2:17-CV-07496-MWF(AS)
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    1        Upon reviewing the legal argument and evidence filed by Plaintiffs Universal
    2 City Studios Productions LLLP, Columbia Pictures Industries, Inc., Disney
    3 Enterprises, Inc., Twentieth Century Fox Film Corporation, Paramount Pictures
    4 Corporation, Warner Bros. Entertainment Inc., Amazon Content Services, LLC, and
    5 Netflix Studios, LLC (collectively, “Plaintiffs”), in support of their Motion for
    6 Leave to File First Amended Complaint and to Extend Discovery Cutoff
    7 (“Motion”); and having reviewed the opposition legal argument and evidence filed
    8 by Defendant TickBox TV LLC (“TickBox”); and having reviewed all reply
    9 materials and all argument of counsel; and having considered the factors for leave to
  10 amend under Fed. R. Civ. P. 15 and the need for additional fact discovery, the Court
  11 HEREBY GRANTS Plaintiffs’ Motion.
  12         Plaintiffs shall file their First Amended Complaint within five (5) days of the
  13 entry of this Order.
  14         The Discovery Schedule is modified as follows:
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  16      Last Date to Hear Motion to Amend Pleadings /Add Parties             7/16/2018
  17      Non−Expert Discovery Cut−Off (at least 4 weeks before last           8/3/2018
          date to hear motions)
  18
  19      Expert Disclosure (Initial)                                          8/3/2018
          Expert Disclosure (Rebuttal)                                         8/24/2018
  20
          Expert Discovery Cut−Off                                             9/14/2018
  21
          Last Date to Hear Motions (Monday at 10:00 a.m.)                     9/14/2018
  22
          Last Date to Conduct Settlement Conference                           9/28/2018
  23
                                                                               11/5/2018
  24      For Jury Trial
          • File Memorandum of Contentions of Fact and Law, LR 16−4
  25      • File Exhibit and Witness Lists, LR 16−5.6
          • File Status Report Regarding Settlement
  26      • File Motions In Limine
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                                                                              [PROPOSED] ORDER
                                                                          2:17-CV-07496-MWF(AS)
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    1                                                                       11/12/2018
         For Jury Trial
    2    • Lodge Pretrial Conference Order, LR 16−7
         • File Agreed Set of Jury Instructions and Verdict Forms
    3    • File Statement Regarding Disputed Instructions, Verdicts, etc.
         • File Oppositions to Motions In Limine
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         Final Pretrial Conference and Hearing on Motions In Limine         11/26/2018
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    9    Jury Trial (Tuesday, at 8:30am)                                    12/18/2018

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  12 IT IS SO ORDERED
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  14 DATED: ______________
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  17                                        The Honorable Michael W. Fitzgerald
                                            United States District Judge
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                                                                           [PROPOSED] ORDER
                                                                       2:17-CV-07496-MWF(AS)
